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 8                                   UNITED STATES DISTRICT COURT
 9                                 NORTHERN DISTRICT OF CALIFORNIA

10     IN RE TESLA, INC. SECURITIES                    No. C-18-04865
       LITIGATION
11                                                     Hon. Edward M. Chen
12
                                                       [PROPOSED] ORDER GRANTING LEAD
13                                                     PLAINTIFF’S MOTION FOR LEAVE TO
                                                       SERVE NON-PARTY DOCUMENT
14                                                     PRESERVATION SUBPOENAS

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17          ON THIS DAY, the Court considered Lead Plaintiff Glen Littleton’s motion for leave to serve non-

18   party document preservation subpoenas;

19          Having considered the arguments submitted in connection therewith, the motion is hereby GRANTED;

20          Lead Plaintiff Glen Littleton may serve the non-parties identified in the motion in substantially the

21   same form as the subpoena submitted in support of the motion.

22          IT IS SO ORDERED.

23          Dated:                                                _________________________
                                                                  EDWARD M. CHEN
24                                                                United States District Judge
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